    Case: 1:20-cv-07292 Document #: 18 Filed: 02/01/21 Page 1 of 1 PageID #:139




               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

                                              )
 LEAH LEVINGER,                               )
                                              )
                       Plaintiff,             )
                                              )     No. 1:20-cv-07292
               v.                             )
                                              )     Judge Robert M. Dow, Jr.
 CLAUDIA MORELL, MARIA ZAMUDIO,               )
 ALEX KEEFE, and WBEZ a.k.a. CHICAGO          )     Magistrate Judge Gabriel A. Fuentes
 PUBLIC MEDIA, INC.,                          )
                                              )
                       Defendants.            )
                                              )

                                     NOTICE OF MOTION

PLEASE TAKE NOTICE that Defendants, by their counsel, shall appear telephonically before

the Honorable Robert M. Dow, Jr. on February 9, 2021, at 9:15 a.m., and present Defendants’

Motion to Dismiss Plaintiff’s Complaint.


 February 1, 2021                             Respectfully submitted,

                                              CLAUDIA MORELL, MARIA ZAMUDIO,
                                              ALEX KEEFE, and WBEZ, a.k.a. CHICAGO
                                              PUBLIC MEDIA, INC.


                                              By:      /s Jason M. Bradford
                                                       One of Their Attorneys


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